Case: 4:17-cv-01977-SNLJ Doc. #: 1-1 Filed: 07/14/17 Page: 1 of 18 PageID #: 4




              Exhibit A
Case: 4:17-cv-01977-SNLJ Doc. #: 1-1 Filed: 07/14/17 Page: 2 of 18 PageID #: 5
Case: 4:17-cv-01977-SNLJ Doc. #: 1-1 Filed: 07/14/17 Page: 3 of 18 PageID #: 6
Case: 4:17-cv-01977-SNLJ Doc. #: 1-1 Filed: 07/14/17 Page: 4 of 18 PageID #: 7
Case: 4:17-cv-01977-SNLJ Doc. #: 1-1 Filed: 07/14/17 Page: 5 of 18 PageID #: 8
Case: 4:17-cv-01977-SNLJ Doc. #: 1-1 Filed: 07/14/17 Page: 6 of 18 PageID #: 9
Case: 4:17-cv-01977-SNLJ Doc. #: 1-1 Filed: 07/14/17 Page: 7 of 18 PageID #: 10
Case: 4:17-cv-01977-SNLJ Doc. #: 1-1 Filed: 07/14/17 Page: 8 of 18 PageID #: 11
Case: 4:17-cv-01977-SNLJ Doc. #: 1-1 Filed: 07/14/17 Page: 9 of 18 PageID #: 12
Case: 4:17-cv-01977-SNLJ Doc. #: 1-1 Filed: 07/14/17 Page: 10 of 18 PageID #: 13
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Case: 4:17-cv-01977-SNLJ Doc. #: 1-1 Filed: 07/14/17 Page: 12 of 18 PageID #: 15
Case: 4:17-cv-01977-SNLJ Doc. #: 1-1 Filed: 07/14/17 Page: 13 of 18 PageID #: 16
Case: 4:17-cv-01977-SNLJ Doc. #: 1-1 Filed: 07/14/17 Page: 14 of 18 PageID #: 17
Case: 4:17-cv-01977-SNLJ Doc. #: 1-1 Filed: 07/14/17 Page: 15 of 18 PageID #: 18
Case: 4:17-cv-01977-SNLJ Doc. #: 1-1 Filed: 07/14/17 Page: 16 of 18 PageID #: 19
Case: 4:17-cv-01977-SNLJ Doc. #: 1-1 Filed: 07/14/17 Page: 17 of 18 PageID #: 20
Case: 4:17-cv-01977-SNLJ Doc. #: 1-1 Filed: 07/14/17 Page: 18 of 18 PageID #: 21
